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 3
 4                                  UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                                 Plaintiff,  )                  Case No. 2:04-cr-00177-GMN-PAL
                                               )
 9   vs.                                       )                                ORDER
                                               )
10   ROUBEN KIRAKOSSIAN,                       )              (Mot. Discl. Grand Jury Info - Dkt. #342)
                                               )
11                                 Defendant.  )
     __________________________________________)
12
13          Before the court is the United States’ Motion to Disclose Grand Jury Matters Pursuant to
14   Fed.R.Crim.P. 6(e)(3)(E)(i) (Dkt. #342). Defendant Rouben Kirakossian entered a plea of guilty
15   January 13, 2013, and is awaiting sentencing. The United States seeks an order allowing it to disclose
16   grand jury matters to address issues raised in Defendant’s May 7, 2013, Sentencing Memorandum
17   requesting a downward variance from the Sentencing Guidelines. The United States represents that the
18   testimony of certain witnesses who appeared before the grand jury is probative of the nature and
19   circumstances and seriousness of Defendant’s offense in this case, and Defendant’s history, and
20   characteristics. Rule 6(e) specifically authorizes disclosure of grand jury matters in connection with a
21   judicial proceeding. The United States therefore requests authorization to disclose grand jury matters
22   preliminary to and in connection with Defendant’s sentencing for purposes of responding to
23   Defendant’s Sentencing Memorandum.
24          Having reviewed and considered the matter,
25          IT IS ORDERED that:
26          1.      The United States’ Motion to Disclose Grand Jury Matter (Dkt. #345) is GRANTED.
27   ///
28   ///
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 1      2.     The United States shall serve counsel for Defendant Kirakossian with a complete
 2             transcript of the testimony of the witnesses the United States intends to rely upon to
 3             rebut the positions taken in Defendant’s Sentencing Memorandum.
 4      Dated this 16th day of May, 2013.
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 6                                                   ______________________________________
                                                     Peggy A. Leen
 7                                                   United States Magistrate Judge
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